 

 

Case 1:15-cv-05871-KPF Document 12 Filed 02/26/16 Page 1 of 48

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

---- -X

KELLY PRICE

PLAINTIFF
-against-

DETECTIVE LINDA SIMMONS Individually,

and as an employee of the New York City Police
Department, ADA MARIA STROHBEHN and

ADA KENYA WELLS Individually,

and as employees of the New York County

District Attorney’s Office, THE CITY OF NEW YORK,
Deputy DA Audrey Moore, ADA Larry Newman, ADA
Laura Higgins nee Richendorfer, ADA Christina
Maloney, ADA Patricia Bailey, ADA Susan Roque and
DA Cyrus Vance Jr., as employees of the New York
County District Attorney’s Office, Inspector Obe of

the New York City Police Department, in her capacity
as an employee of the New York City Police Department,
Rose Pierre-Louis in her capacity as the Commissioner
of Domestic Violence of the City of New York,

DEFENDANTS,

 

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Index No.: __15-CV-05871
JURY TRIAL DEMANDED

8S 6 WY 62 4343102

 

Request for More Time to Amend Complaint
‘as Ordered by Hon. Loretta A. Preska

 

February 26, 2016

Dear Hon. Preska:

By order Posted to me on January 26, 2016 (Exhibit #1) you requested that 1 amend my complaint

for the above-noted docket. In your order you instructed me file my amended complaint within 30 (thirty)

days of the date of your order. | know | have already tested the court’s patience a bit and am humbled by

the court’s allowances already afforded to me. I need to request a further extension to file the amended

complaint for the following three reasons:

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1!)

2.)

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This morning the NY State Court of appeals published a favorable verdict on an appeal I filed
to reverse a disorderly conduct conviction I was found guilty of in October of 2012 (Exhibit
#2). The wrongful conviction sprung from events that transpired at a midtown bar where I
was assauited, and called the police on 9/24/2011 for assistance on the night that Occupy
Wall Protests raged for the first time through our city. Because the District Attorney’s office
had a vendetta against me they had me arrested by the police who beat me and then lied about
the facts in court triggering a conviction. The same ADA, Kenya Wells, who pursued a
conviction against me as a victim of domestic violence and trafficking prosecuted this case
and it is integrally linked with the aggravated harassment case | had dismissed and sealed on
July 24, 2012 that is the locus of the complaint I have already filed with the SDNY. I would
like to include this case in my federal] lawsuit currently pending in your court part and would
like time to integrate the facts of that case into the one presentiy at hand as the illegal and
unlawful actions of the Manhattan District Attorney’s office towards me as a victim at stake
are the same and orchestrated by the same parties within the MDAO and NYPD
conterminously. PLEASE may I have an extension to integrate these new facts JUST
PUBLISHED THIS MORNING on 2/26/2016 please? [ have included the Appellant decision

published this morning for your review (Exhibit #2).

| have been energetically advocating finding a lawyer that will steward my class action(s)
claim(s) and while attorney Jane Byrialsen wanted to take the case she feels her inexperience
with class actions prohibits her from taking the case and she has asked her friend, Joshua
Moskowitz, to take the case (Exhibit #3). Mr. Moskowitz is a former student of Alex
Reinert, who I know from my work with the Jails Action Coalition and who has been giving
me small bits of guidance for the past several years and who is too busy to take the case as he
is working on freeing Gitmo prisoners but he has encouraged Mr. Moskowitz to assist me.

Mr. Moskowitz has told me that he is very interested in my case but that he will ONLY have
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time to review my case after the second week in March as he is troubled with another case
presently, I need a strong lawyer to steward me and if Mr. Moskowitz is interested in my
case I would humbly ask the court to consider granting me more time to try to attain his
representation and maintain my ability to form a class to represent the other victims I know

have been felled as a victim by the same malicious practices of the MDAO that I was.

3.) Yesterday, on 2/25/2016 | received a 30-page log of advocacy notes (Exhibit #4) by
CONNECT NYC, an organization that fought hard for my dismissal with the MDAO. The
logs reveal multiple points of contact with Deputy DA Audrey Moore, the Chief of the
MDAO Special Victims’ Unit, proving that Ms. Moore indeed had knowledge of and control
over my case and did not follow the mandates of the Crime Victims Statutes as outlined by
NY State Executive and Social Service Laws. | also need further time to integrate the

‘ information and documentation cn this log into my complaint and to strengthen the thrust of
the actions I outline against her. | had requested last year that CONNECT provide me with
all logs and records but for some reason they did not turn over the logs until yesterday. I had
to enlist Dorchen Leidholdt, Director of the Center for Battered Women’s’ Legal Services at
Sanctuary for Families, to advocate on my behalf to receive the proper logs proving multiple
points of contact between my advocates and the Deputy Chief of the MDAO’s Special
Victims’ Unit: proving her inaction and deliberate denial of services to me as is mandated by

the Social Services Laws and Executive Laws of New York.

Because of these three reasons: 1.) publication of the positive result of my appeal THIS MORNING, 2.)
because of the potential to retain Mr. Moskowitz, and 3.) because of the new evidence of the logs attained
Just yesterday from Connect NYC I request another adjournment to refile my complaint in light of these
new developiments/evidence. ] have re-written my complaint as to your instructions but am leery to turn it

in knowing that ] have not had time to incorporate the new developments into it. |am a Pro Se titigant and

 

 
 

 

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learning as | go so please forgive my miss-steps if this request is again found to be a burden to your
docket and annoying. | hope you will be as surprised by the appeal result from the State Appellant
division being published this morning as!am. | believe it is more very strong evidence that the
Manhattan District Attorney’s office acted unlawfully against me and in violation of my constitutional
rights and it is integral to my case that these considerations be included in my complaint.

I would like to request a furtherance of deadline for turning in an amended complaint. Ideally I
would appreciate 60 days but even 30 days would suffice for me to rewrite but regrettably that most-
likely is not enough time to bring a new attorney up to speed and get them to write a new complaint. [
know I have tested your Honor’s patience already and I am really embarrassed to ask for more time but ]
could not have possibly predicted that my appeal would drop in my favor this morning, Please may I

have an additional 60 days?

If you decide that I am not to be allowed more time to re-write | am happy to turn-in the revised
complaint that I have drafted and now re-written with your guidance in mind twice. I took into

consideration your stewardship on passed to me in your kind “Order to Amend.”

I’m trying to avoid un-necessary and redundant work incurred by myself, you and your
clerk/court part staff. Please again accept my MEA CULPAS for any inconvenience, hassle, or
disturbance this request causes you or your court staff. Thank you so much for taking the time to consider

allowing me to re-write my complaint with this new evidence and new actionable claims in mind. |
Yours, Kelly Price

Date: February 26, 2016

Sworn to before me on this 26th day of February, 2016

Jeffry Richard Senter
Notary Public State of New York

No. O2SE621 4827
My p ; - Qualified In Queene County
i ! Commission Expires ee
a

Notary Public

 
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EXHIBIT #

 

 
     

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KELLY PRICE,

Plaintiff, :

15-CV-5871 (LAP)
-against-
ORDER
DETECTIVE LINDA SIMMONS ET AL.,

Defendants.

 

 

LORETTA A. PRESKA. Chief United States District Judge:

Plaintiff filed this action pro se. On October 19, 2015, the Court held that Plaintiff's
amended complaint failed to state a claim on which relief could be granted but granted Plaintiff
’ leave to amend her complaint. Plaintiff did not file an amended complaint, and the deadline for
doing so expired. On December 23, 2015, the Court therefore dismissed this action.

, Shortly theréafter, on December 28, 2015, Plaintiff filed motions (ECF Nos. 8-9) seeking
reconsideration of the order of dismissal'and an extension of time to amend her complaint. The
Court construes Plaintiff’s motion for reconsideration as arising under Rule 59(e) of the Federal
Rules of Civil Procedure and Local Civi! Rule 6.3. For the reasons set forth below, Plaintiff's

motion for reconsideration is granted.

DISCUSSION

On January 22, 2016, before the Court ruled on Plaintiff's motion for reconsideration,
Plaintiff filed a notice of appeal. Generally, “[t]he filing of a notice of appeal is an event of
jurisdictional significance — it confers jurisdiction on the court of appeals and divests the district
court of its control over those aspects of the case involved in the appeal.” Griggs v. Provident
Consumer Discount Co., 459 U.S. 56, 58 (1982); Ryan v. United States Line Co.,303 F.2d 430,

434 (2d Cir, 1962) (holding that the docketing of a notice of appeal “ousts the district court of

 

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jurisdiction except insofar as it is reserved to it explicitly by statute or rule.”), By statute,
however, Ti} a party files a notice of appeal after the court announces or enters a judgment — but
before it disposes of [a Rule 59(e) motion] — the notice becomes effective to appeal a judgment
or order, in whole or in part, when the order disposing of the last such remaining motion is
entered.” Fed. R. App. P. 4(a}(4)(B)().

Here, Plaintiff’s appeal was docketed after entry of judgment but before the Court
disposed of Plaintiff’s December 28, 2015 motion under Rule 59(e). Under Fed. R. App. P.
4(a)(4)(B)(i), the Court thus has jurisdiction to resolve the Rule 59(e) motion because the notice
of appeal is not yet effective. See, e.g., Stewart Park & Reserve Coal. Inc. (SPARC) v. Slater,
374 F. Supp. 2d 243, 252 (N.D.N.Y. 2005) (reasoning that “application of Appellate Rule 4
effectively renders the appeal to the Court of Appeals in abeyance pending the district court’s
determination of the post-judgment motion.”),

Reconsideration of a court’s judgment under Rule 59(e) is an “extraordinary remedy to be
employed sparingly in the interests of finality and conservation of scarce judicial resources.”
USA Certified Merchants, LLC v. Koebel, 273 F. Supp. 2d 501, 503 (8.D.N.Y. 2003) (citations
omitted). “A court is justified in reconsidering its previous ruling if: (1) there is an intervening
change in the controlling law; (2) new evidence not previously available comes to light; or (3) it

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becomes necessary to remedy a clear error of law or to prevent obvious injustice.” Slater, 374 i,

 

Supp. 2d at 253 (c'ting Ad. States Legal Iound., Inc. v. Karg Bros., Inc., 841 F. Supp. 51, 53
(N.D.N-Y. 1993)).

The Court dismissed this action on the ground that Plaintiff failed to file an amended
complaint as directed. In her application, Plaintiff indicates that despite her failure to file an

amended complaint, she has been taking various steps to seek relief, including secking counsel
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and additional evidence. It therefore appears that Plaintiff did not intend to fail to prosecute this

action. Accordingly, the Court grants Plaintiff’s motion to reconsider the order of dismissal.

CONCLUSION

The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on
the docket. Plaintiff’s motion for reconsideration (ECF No. 8) is granted, and the Clerk of Court
is directed to vacate the order of dismissal (ECF No. 6) and reopen this action. Plaintiffs motion
for ai extemsion of time to file an amended complaint (ECP No. 9) is granted, and the Court
directs Plaintiff to file an amended complaint, as set forth in the October 19, 2015 order to
amend, within 30 days of this order.'

The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would
not be taken in good faith, and therefore in. forma pauperis status is denied for the purpose of an
appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

SO ORDERED.

Dated: January 26, 2016
New York, New York

 

TORETTA A. PRESKA
Chief United States District Judge

 

| As Plaintiff points out, her initial complaint was filed on July 24, 2015, and thus the order to
amend should have indicated that her claims under 42 U.S.C. § 1983 arising more than three
years prior to July 24, 2015, appeared to be time barred — not claims arising more than three
years prior to the filing of her amended complaint on August 13, 2015.

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EXHIBIT # 2

 
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People v Price (2016 NY Slip Op 50231(U)) Page 1 of 2

[*1]

 

 

People v Price (Kelly)

 

 

2016 NY Slip Op 50231(U)

 

 

Decided on February 25, 2016

 

 

Appellate Term, First Department

 

 

Published by New York State Law Reporting Bureau pursuant to Judiciary
Law § 431.

 

 

 

This opinion ts uncorrected and will not be published in the printed Official
Reports.

 

 

 

 

 

 

Decided on February 25, 2016

SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT
PRESENT: Schoenfeld, J-P., Shulman, Hunter, Jr., JJ.

571134/12

The People of the State of New York, Respondent, -
against

Kelly Price, Defendant-Appellant.

Defendant appeals from a judgment of the Criminal Court of the City of New York,
New York County (Robert M. Mandelbaum, J.), rendered October 18, 2012, convicting

him, after a nonjury trial, of two counts of disorderly conduct, and imposing sentence.
Per Curiam.

Judgment of conviction (Robert M. Mandelbaum, J.), rendered October 18, 2012,

reversed, on the law and the facts, and the accusatory instrument is dismissed.

The verdict convicting defendant of two counts of disorderly conduct (see Penal Law
§§ 240.20[2], [3]}, was not based on legally sufficient evidence and was, in any event,
against the weight of the evidence. The trial evidence showed that defendant called police

after she was asked to leave a midtown Manhattan bar on a Saturday evening; the

http://www.courts.state.ny.us/reporter/3 dseries/201 6/2016 50231.htm 2/26/2016
 

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People v Price (2016 NY Slip Op 50231(U)) Page 2 of 2

responding officers observed defendant to be visibly upset and they tried to calm her
down; upon interviewing people inside the bar, the officers informed defendant that there
was no action that they could take on her behalf; defendant was angry, but walked away
from the scene; and that as defendant was approximately 20 feet away from the officers,
she turned her head and shouted an epithet at them. On these facts, defendant's intent to
cause public inconvenience, annoyance, or alarm, or recklessness in creating such a risk,
was not established beyond a reasonable doubt (see Penal Law § 240.20 People v Baker,
20 NY3d 354 [2013]). Defendant's conduct did not indicate an intent to breach the peace,
or even constitute an act from which a breach of the peace was likely to occur (see People
v Johnson, 22 NY3d 1162 [2014]; People v Baker, supra; People v Pritchard, 27 NY2d
246 [1970]; People v Smith, 19 NY2d 212 [1967]). |

THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.

I concur I concur J concur

Decision Date: February 25, 2016

Return te Decision List |

 

http://www.courts.state.ny.us/reporter/3dseries/2016/2016_50231 btm 2/26/2016
 

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EXHIBIT #3.
 

 

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from: Grace <gorgeous212@gmail.com>
to: Jane Byrialsen <jane@fblaw.org>
date: Fri, Feb 19, 2016 at 3:15 PM

subject: Re: Kelly Grace Price v Cyrus Vance Jr., the City of NY, et al referred by
susan Kellerman

mailed-by: gmail.com
: Important according to our magic sauce.

Dear Ms. Bryialsen: I'm in receipt of a letter from the City Law Dept today sent to the Appellant division
requesting to be removed from the appellant docket for three of the individuals | named in my
complaint: det. Linda Simmons, former Commissioner of Domestic Violence Rose Pierre Louis, and NYPD
Inspector Obe.

The law Dept notes that my motion to reconsider was granted but wanted to strike its name from
representing the these three women from the appellant docket nonetheless.

Seems the City Law Dept is Very concerned about my case. No parties have even been served! Why are
they even monitoring the docket?

Interesting that they have already determined that they will NOT be representing them however..
i thought this would be important info for you to impart to whomever you are dining with tonight.

Best, Grace

On Feb 4, 2016, at 5:58 PM, Grace <gorgeaus212@gmail.com> wrote:

 

| Grace <gorgeous212@gmail.com> Feb 19 (7 days ago)

 

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Dear Ms. Bryialsen: Josh is too busy to even CONSIDER taking my case until after the first week in
March—past my deadline....He says after that week he will be able to review my documents. | have a
week left to turn this thing in. | know CY Vance is powerful but he MUST have SOME enemies....

Any other ideas?

On Fri, Feb 5, 2016 at 9:02 AM, Jane Byrialsen <jane@fblaw.org> wrote:

Ms. Price,
| will get back to you by Monday,
Best,

Jane

Sent from my iPad

Jane Fisher-Byrialsen, Esq.
Fisher & Byrialsen, PLLC
99 Park Avenue, PH Floor
New York, New York 10016
"1: (242) 962-0848

C: (202) 256-5664

PLEASE NOTE MY NEW EMAIL ADDRESS
 

 

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On Fri, Feb 19, 2016 at 8:04 PM, Jane Fisher-Byrialsen <jane@fblaw.org> wrote:

Hi Grace,

| don't know a lot about you case, but | can assure you that Cy Vance is not the reason that Josh is
unable to look at your case. We are all very busy and we owe an ethical obligation to both our current
clients and to you to not take on work that we do not have time to handle properly and with the car it
deserves.

| know it is frusterating. I'm sorry.
Jane Fisher-Byrialsen

Fisher & Byrialsen, PLLC

99 Park Avenue, Penthouse FI.
New York, NY 10016

P: 212-962-0848

C: 202-256-5664

Jane@FBLaw.org

 
 

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EXHIBIT # 4.
 

 

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Grace Price

From: Sally MacNichol <SMacNichol@connectnyc.org>
Sent: Thursday, February 25, 2016 3:29 PM

To: Grace Price; GRACE

Subject: Kelly Grace Price Database Notes

Attachments: Price, Kelly Grace - Database Notes.docx

Hi Grace,

Here are the data base notes... You should now have everything. Good luck.
Talk soon

Best
Sally

Sally N. MacNichot M. Div., Ph.D. |Co-Executive Director

CONNECT |127 W 127th St, Rm 431|New York, NY¥ 10027
smacnichol@connectnyc.org | T (212) 683-0015 x216 | F (212) 683-0016
www.connectnyc.org | follow us on twitter@CONNECT_NYC| like us on Facebook
Legal Advocacy Helpline: (212) 683-0605
 

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happen, so if the ADA is planning on dropping the charges, he/she
can do so at that court date.

9/7/2011|}SD met with CL at CVTC. ; IcvTC

9/7/20111SD did a lot of CC with CL during our meeting. Crisis.
oi leo _ i  , OUNSEliNg |

9/7/2011|SD sAw CL about the likelihood that the charges against her will be —_|Info-Legal
cee, (UFOPPET.

9/7/2011/SD sw CL about the history of DV b/w them and described the {lnfo-Other

commen tactics used by abusers to get what they want.
9/7/2011|SD advised CL that the court calendar governs when certain things = ‘Info-Legal

 

Info-Legal

 

 

 

 

 

 

 

 

 

Mn DA's office. No answer. Left vm with my direct line and extension |
_ {to call me back.

9/7/2011)SD suggested that CL look into the CCRB as a possible mechanism
{for holding the 28th precinct cops accountable for what they've done
Ito her.
9/7/201115D advised CL that the only real oversight with NYPD comes from Info-Legal
IAB (which she's already involved with) and the CCRB.
9/7/2011/SD advised CL that in cross-complaint cases, credibility is key and Info-Legal
the pending criminal case against her puts her at a disadvantage as
far as that's concerned.
9/7/2011/SD informed CL that the first focus should be getting the charges Info-Legal
dropped and once that's resolved, then see if it's possible to re-open
_ ___ ithe assault case against RESP. - _
9/7/2011|SD gave CL my card with the LAP HL # on it in case she needs to. Info-Legal ’
feontact Me
9/14/2011 |SD shw cL who called in for me at CVTC. Follow Up _
9/14/2011) ISD, with Lisa . @ CVTC, attempted to contact Lisa Callahan @ the ICJA-DA

 

~ [Info-Legal_

 

 

 

 

 

 

 

 

 

andthe DA's office,

9/14/2011|SD advised CL that b/c of the bureaucratic nature of the system,
correcting mistakes like this take an extensive amount oftime, |
9/14/2017 {CL expressed fear at being incarcerated "for the rest of her life, " rand | iInfo-Legal
SD reminded her that these are all MISD charges and carry a
___ jmaximum of 1 year. | ae
9/14/2011/SD advised CL that we tried to call Lisa Callahan at the DA's office, \Info-Legal
but there was no answer so we left a message asking her to call me |
ee back at the office on my extension. |
9/14/2011|SD advised CL that we have a working relationship with the DA's iInfo-Legal
oo joffice and will try to utilize that to help her. od. 7
10/14/2011 oD called Lisa @ CVTC to s/w her on CL's behalf about Belinda PA- Legal.
escorting CL to her appt with a City Council member to discuss her
..._.ftreatment by NYPD and the DA's office. No answer. Left vm. jo
10/28/2011!SD s/w CL who called forme onthe HL. __ a IFollow Up
10/28/2011ISD offered CL emotional support given her treatment by the police {Crisis

 

Counseling

 

 

 
 

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eas i
10/28/2011 SD advised CL that | can call the precinct to speak with the DVPO __|Info-Legal
who took her rep't on RESP's latest attack (a PO Simmons) and find
out what happened w/ the DIR. a fo
10/28/20111SD advised CL that both Lisa @ CVTC and | have been trying to get |Info-Legal
through to the DA's office about getting the charges dropped but
we're not getting anywhere on that front. oe | 7
10/28/20111SD advised CL to send me her copy of the DIR and then i can call |Info-Legal
the 28th precinct to speak with DVPO Simmons about how itwas
"lost" according to Lt. LaRocca. Gave CL our fax #. , 4
11/1/20111SD called the 28th precinct to speak w/ DVPO Simmons about this iCJA-Police
DIR. She was very resistant and wasn't able to provide any info
except that the report got "lost in the system". Her stance was that
CL must return to the precinct to file another one. ee
11/8/20114SD s/w CL about Belinda accompanying her to the precinct to make |Info-Legal
a report as well as to her meeting with Christine Quinn's office to
report her treatment by the police.
11/8/2011{SD offered CL emotional support and validated her feelings about {Crisis
- the 28th precinct's handling of her case. —_ jCounseling
11/8/2011)SD gave CL a run-down of the very unproductive phone calll had _[Info-Legal
~ twith the DVPO last week, and advised her that the issue is definitely
not her fault.
11/8/2011)CL called on the HL and SD s/w her about what happened when! ‘Follow Up
oo called the 28th precinct last week. .
11/8/2011)SD emailed KT & Anindita about having Belinda accompany CL to jPA-Legal
ithe 28th precinct to re-file the DIR that they “lost” in their system.
11/9/2011:SD s/w CL briefly at CVTC about Belinda accompanying her to the (Follow Up
28th precinct. CL was just getting out of group at CVTC. |
11/9/20111SD s/w CL briefly at CVTC about Belinda accompanying her to the iInfo-Legal
\28th precinct. CL was just getting out of group at CVTC. 1
14/9/2011|SD provided CL w/ emotional support about her treatment by the Crisis
{28th and confirmed that | was also stonewalled by the DVPO there. [Counseling
11/9/2011 SD advised CL that | would meet with Belinda on Friday to go over = |Info-Legal
CL's case with her, so she should be able to accompany her next — ;
11/15/2011)SD called CL to set up a time for Belinda to accompany her to the ~— {Follow Up
[precinct in order to make a report. No answer. Her voice mail box
. was full so | couldn't leave a message. fo
11/15/2011 iSD called Lisa @ CVTC to s/w her about CL. No answer. Left v vm {PA-Legat
lasking for a call back. -_
11/15/2011/SD s/w Lisa @ CVTC who returned my phone call, Discussed the PA-Legal
jaccompaniment to the 28th precinct as well as CL possibly testifying |
| at City Council. _
| 11/16/2011|SD met with CL at CVTC and briefly discussed Belinda ‘escorting her linfo-Other

 

 

 

 

 
 

 

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to the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr.

 

11/16/2011

SD met with CL at CVTC and briefly discussed Belinda escorting her
to the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr.

Follow Up

 

11/16/2011

SD met with CL at CVTC and briefly discussed Belinda escorting her:
to the 28th precinct to file her DIR as well as possibly testifying at
CityCouncilearlynextyr,

Info-Legal

 

11/22/2011

SD called CVTC to s/w Lisa to let her know that Kelly and Belinda
Will be meeting at CVTC on Thursday (12/1) to head up to the 28th

PA-Legal

 

11/22/2011

ee

BD s/w CL and arranged a date/time to meet @ CVTC and then to
go up to the 28th precinct.

Info-Legal

 

11/22/2011

SD s/w CL who called in on the HL. Let her know that | hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
ito go to the precinct.

IFollow Up

 

11/22/2011

SD s/w CL who called in on the HL. Let her know that | hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
to go to the precinct.

Info-Legal

 

11/30/2011

SD advised CL that now that her OP was downgraded, it's critical
that she obtain the DIR to prove the OP violation to the IDV judge.

Info-Legal

 

11/30/2011

SD called CL to sAw her about meeting tomorrow w/ BD to head to
the 28th precinct.

IFollow Up

 

11/30/2011

iher OP (hers was downgraded to a limited OP and he still has a stay
jaway against her). __

SD provided CL emotional support b/c of what occurred in IDVw/

Crisis
Counseling

 

11/30/2011

SD s/w CL about what ‘happened | in IDV court yesterday wi her OP.

Info-Legal

 

11/30/2011:

SD s/w CL about the possibility of a City Council hearing and let her

jabout it.

|Info-Other
{snow that it's still in the initial stages. | haven't heard anything more |

 

11/30/2011

SD confirmed the time/date for CL to meet with BD and head to the
precinct.

“|Info-Legal

 

~ 42/1/2011

SD called Lisa @ CVTC to give her an update on what took place
today at the 28. No answer. Left vm. Also informed her about my

jwe need to be confident that there's nothing that can be used
jagainst CL.

] |PA-Legal :

conversation w/ KT and the potential to speak directly to Audrey but |

 

12/1/2011

BD met with CL at CVTC to accompany ‘her to the 28th precinct. BD
jinform her of what took place. CL was very happy with the effect of

her in other respects.

assisted CL with filing a DIR for the OP violation and emailed SD to ©

the accompaniment and articulated her desire for BD to accompany |

‘ICJA-DA

 

 

~ 12/1/2011

 

 

IsD s/w Lisa who called me back. Discussed CLs. case ‘and — 7 :

 

 

 
 

 

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\possibility of a meeting to try and hash out the probability of going to
|DA's office with a solid case for dropping the charges. Will speak to |
KT about this. :

 

iCounseling

 

12/1/2011,

SD s/w Lisa who called me back. Discussed CL's.case and

DA's office with a solid case for dropping the charges. Will speak to
KT about this.

‘PA-Legal
possibility of a meeting to try and hash out the probability of going to |

 

12/1/2011 IBD met with CL at CVTC to accompany her to the 28th precinct. BD

assisted CL with filing a DIR for the OP violation and emailed SD to

 

jinform her of what took place. CL was very happy with the effect of

ithe accompaniment and articulated her desire for BD to accompany
her in other respects.

ICJA-Police

 

12/1/2011iBD met with CL at CVTC to accompany her to the 28th precinct. BD

assisted CL with filing a DIR for the OP violation and emailted SD to
inform her of what took place. CL was very happy with the effect of

the accompaniment and articulated her desire for BD to accompany
her in other respects.

iInfo-Legal

 

12/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
inform her of what took place. CL was very happy with the effect of

her in other respects.

the accompaniment and articulated her desire for BD to accompany :

[Follow Up
assisted CL with filing a DIR for the OP violation and emailed SD to

 

42/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to

linform her of what took place. CL was very happy with the effect of
{the accompaniment and articulated her desire for BD to accompany |
iher in other respects.

Crisis

Counseling

 

12/2/2011)

15D emailed Lisa to arrange a time for us to meet w/ KT ta discuss

IPA-Legal
ICL’ 's case and develop a strategy for advocating with the DA's office. |

 

42/5/2011}

ISD s/w CL who called in very upset b/c she ran into RESP at the

chow op _
lbodega and had to turn around and walk out while they (him and his —
ifriend) laughed at her.

 

12/5/2011;

‘SD s/w CL to try and de- escalate her a bit, and then reminded her
that the best thing she can do for now is protect herself from the OP

jeven though it's infuriating.

[Crisis
sCounseling

 

12/5/2011

that the best thing she can do for now is protect herself from the OP

jeven though it's infuriating.

SD siw CL to try and de- ‘escalate her a bit, ‘and then reminded her

Safety
iPlanning

 

12/5/2011

SD advised CL that KT and I need to review her papers from court
so that we can see what exactly happened there before we can do

jany kind of advocacy on her behalf. CL will fax them today.

linfo-Legal

 

~ 12/6/2011

SD called CL unblocked to f/u on her vm from yesterday about her
ifax. It was hot in the fax machine. No answer. Left vm.

Follow Up

 

 

~12/6/2011

 

 

 

SD s/w CL who. called in returning my vm. Confirmed for her that I

 

Info-Legal
 

 

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idid not receive the fax (checked again), so she is going to drop it by |
a |the office today. | gave her the address. oo
12/6/2011j}SD called CL unblocked to f/u on her vm from yesterday about her —_|Info-Legal
jfax. It was not in the fax machine. No answer. Left vm. _
12/6/20111SD s/w CL who called in returning my vm. Confirmed forher that! Follow Up
. did not receive the fax (checked again), so she is going to drop it by
- the office today. ] gave her the address.
12/7/2011|SD and Lisa s/w CL about how her actions, w/o the context of the —iInfo-Legal
history of DV against her, could have been seen as a batterer's
actions. a
12/7/20111SD met with CL at CVTC. ICVvTC
12/7/2011|SD and Lisa s/w CL about the common tactics batterers use to Info-Legal
intimidate their victims, and how some of her actions and statements
could be misrepresented to look like those tactics.
12/7/2011|SD s/w CL about the 28th precinct and their handling of the case. Info-Legal
12/7/2011{SD provided CL w/ emotional support given the handling of her case {Crisis
' fto date. |Counseling
12/7/20111SD s/w Lisa about CL's case and tried to set up-a time for her to iPA-Legal
imeet with KT and I to go over the court doc’s in CL’s possession and
work out a coherent story to possibly present to the DA's office on
CL's behalf. _
12/7/20111SD s/w CL about the DA's office's handling of her case. Info-Legal
12/8/2011j)SD s/w Lisa and KT about setting up a meeting sometime next PA-Legal
week. —
12/13/2011|SD tried calling Lisa @ CVTC again to set up atime to meet w/ KT [PA-Legal
re. CL’s legal case. Trying for tomorrow afternoon near the end of |
the day. A
12/13/2011{SD s/w Lisa who called r me back, and we set up the time of 3pm PA-Legal
. itomorrow to meet w/ KT to review CL's legal case. __
12/20/2011/SD called Lisa returning her message about setting up a time to |PA-Cther
meet w/ KT re. CL's legal case. No answer. Leftvm.
12/20/2011|SD called Lisa returning her message about setting up a time to iPA-Legal
____Imeet w/ KT re. CL's legal case. No answer. Left vm. a
12/20/2011 SD sv Lisa @ CVTC and (tentatively) set up a meeting for next. iPA-Legal
week on Wed @ 11 am. i
{2/28/2011|SD met w/ Lisa & KT re. CL's ¢ case: - Family Court OP, ‘Crim Court iPA-Legal
Lo charges, and proving she's a survivor of DV,
12/28/2011 /KT met w/ Lisa & SD re. CL's case: Family Court OP, ‘Crim Court iPA-
a jcharges, and proving she's a surivor of DV. ____ Counseling
12/28/2011 KT met w/ Lisa & SD re. CL's case: Family Court OP, ‘Crim Court IPA-Legal
__jcharges, and proving she's a surivor of DV. ”
__ 12/28/2011)SD met wi Lisa & KT re. CL's case, Family Cc ‘ourt | DP, Crim Court ‘PA- Family _ |

 
 

 

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_____{charges, and proving she’s a survivor of DV. es Court
12/28/20111SD met w/ Lisa & KT re. CL's case; Family Court OP, Crim Court PA-
charges, and proving she's a survivor of DV. Counseling _
12/28/2011)KT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court PA-Family
charges, and proving she's a surivor of DV. _ [Court
1/5/2012iKT met with Lisa, SD, and CL to discuss the FC case, the CC PA-Family
charges against her, short and long-term priorities and goals, and =jCourt
forming an effective strategy to address them.
1/5/2012/KT met with Lisa, SD, and CL to discuss the FC case, the CC iPA-Legal
charges against her, short and long-term priorities and goals, and
forming an effective strategy to address them.
1/5/20123SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges |Safety
against her, short and long-term priorities and goals, and forming an Planning
effective strategy to address them.
1/5/20121KT met with Lisa, SD, and CL to discuss the FC case, the CC Safety
charges against her, short and long-term priorities and goals, and = {Planning
forming an effective strategy to address them.
1/5/20121KT met with Lisa, SD, and CL to discuss the FC case, the CC Crisis
charges against her, short and long-term priorities and goals, and Counseling
forming an effective strategy to address them.
1/5/2012:SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges Crisis
against her, short and long-term priorities and goals, and forming an |Counseling
effective strategy to address them.
1/5/2012)SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges PA-Legal
against her, short and long-term priorities and goals, and forming an
effective strategy to address them. _
1/5/20121SD met wi Lisa, KT, and CL to discuss the FC case, the CC charges iPA-Family
against her, short and long-term priorities and goals, and forming an (Court
jeffective strategy to address them.
1/5/2012|SD met w/ Lisa, KT, and CL to discuss the FC c case, the CC charges |PA-
lagainst her, short and long-term priorities and goals, and forming an |Counseling
____jeffective strategy to address them.
1/5/2012. KT met with Lisa, SD, and CL to discuss the FC case, the CC IPA-
icharges against her, short and long-term priorities and goals, and Counseling
__.... {forming an effective strategy to address them.
1/11/2012|SD explained what our strategy will be in advocating with the DA’ s  iInfo-Legal
loffice and reminded her that while we believe her story, we have to |
know exactly what took place (whether it was incriminating or not) so}
ithat we can lay out the entire context of DV and its impact on her
ee jactions. pete etet | ee
1/11/2012|SD s/w CL about the different sub- sections of the aggravated \Info-Legal
_____jharassment charge that she's facing and what theymean. |
1/11/2012)SD met w/ CL at CVTC to discuss the charges in-depth and to get a: [Follow Up

 
 

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full account of her version of events.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1/11/2012ISD did some emotional, physical, and legal SP w/ CL because he is [Safety
___ [still calling her and she is talking to him b/c she misses him. _ Planning _
1/11/2012)SD provided CL w/ emotional support throughout this process. Crisis
a ee Counseling
1/11/2012/SD s/w CL in-depth about her version of events (# of phone calls PA-Legal
and texts, what was said, the nature of the interactions w/ him, and
her intent during these interactions). Recorded CL's version of
events in a timeline format. .
1/12/20121KT s/w Audrey Moore, CHief of DV Bureau @ NYCo DA's office, to |CJA-DA
inquire about case and raise issues of victim treated as perp. AM
requested email with identifying email; [ will follow up with her.
1/13/2012/SD s/w CL who called in on the HL. Follow Up
1/13/2012/SD offered CL emotional support b/c of how traumatized she was _[Crisis
yesterday over her attorney's conduct. \Counselting
1/13/20121SD s/w CL about her decision to fire Kartegener and the possibility [Info-Legal
of tapping into her resources at the Legal Aid office since she had a
______ {good feeling about them. 7
1/13/2012}SD s/w CL about what the plea offer could mean for her and that it Info-Legal
illustrates a posible problem with the state's case.
1/13/2012/SD did some SP wi CL b/c she mentioned just waking up (3:15pm) (Safety
after taking sleeping pills the night before. She clarified that she Planning
ae didn't try to overdose; she took them just to knock her out. Co
1/13/2012: SD called Lisa @ CVTC to update her on the case. No answer. Left |PA-Legal
jvm requesting a callback, a
1/17/2012 SD called for Lisa @ CVTC again returning her vm. No answer. ‘Left IPA-Legal
vm letting her know what happened w/ ADA since she's meeting with
- CL at 2pm today and asked her to call me. |.
1/19/2012|SD s/w CL who called in on the HL but she hung, up when | tried to Follow Up
talk to her about leaving a vm on our phone rather than calling over |
vand over again. | informed her that we can't have someone call
jincessantly and that | was planning on returning her message when |
. |CL gotfrustrated andhungupthe phone. sis
1/19/2012|KT emailed Audrey Moore and Lisa Haileselassie re: case status ICJA-DA
a and advocating for dismissal. fo
1/19/2012|SD s/w Lisa who called in returning my vm. Siw her about CL's case IPA-
__ fand the upcoming disorderly conduct hearing. {Counseling _
1/19/2012)SD sent KT the info for CL's case and the info for RESP who then jCJA-DA
— forwarded that info to Audrey Moore at the DA's office. }
1/19/2012|SD s/w Lisa who called in returning my vm. S/w her about CL's case ; PA-Legal
______ and the upcoming disorderly conduct hearing. -
1/19/2012|SD s/w CL who called in on the HL but she hung up when | tried to iInfo-Legal

 

 

__ talk to her about leaving a vm on our phone rather than calling over_|

 

 

 
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and over again. | informed her that we can't have someone call
incessantly and that | was planning on returning her message when |
CL got frustrated and hung up the phone.

 

1/19/2012

SD called Lisa @ CVTC back returning her vm from earlier today.
No answer, Left a detailed vm about CL as well as about the other
jHL case they were helping us with.

PA-Legal

 

1/20/2012

SD s/w CL who called in on the HL about yesterday's conversation.

Follow Up

 

1/20/2012

SD gave CL emotional support in response to her anxiety over the
jcriminal charges against her.

Crisis

Counseling _

 

1/20/2012

SD s/w CL about the criminal charges pending against her and the
upcoming hearing on the disorderly conduct-case.

Info-Legal

 

1/24/2012

SD s/w CL who called in on the HL w/ an update on the disorderly
conduct case. ADA Wells offered an ACD, but she did not accept.

Info-Legal

 

1/24/2012

SD s/w CL who called in on the HL w/ an update on the disorderly
conduct case. ADA Wells offered an ACD, but she did not accept.

IFollow Up

 

1/31/2012

SD informed CL that we gave her info and the info of the case to the
SVB chief (Audrey Moore) in the DA's office a couple weeks ago and
we're still waiting on the outcome of that.

info-Legal

 

1/31/2012

SD informed CL that even one missed court date can result in a
dismissal of her FC case against RESP, which is what happened.
IHowever, she didn't show b/c Kartegener told her the wrong date
and they've given her until Mon to come back w/ a new attorney.

Info-Legal

 

1/31/2012

SD informed CL that if ADA Wells knew she wasn't going to take the
deal, then he didn't have to formally offer it to her (it sounds like he
did not).

itnfo-Legal

 

1/31/2012

SD s/w CL who called in on the HL very upset and threatening to "go
ito the Bk Bridge” right now (basically providing an underlying
implication of suicidality).

iCrisis
|Counseling

 

1/31/2012

to the Bk Bridge" right now (basically providing an underlying
implication of suicidality).

SD s/w CL who called in on the HL. very upset and threatening to' ‘go.

Follow Up

 

2/3/2012

SD s/w CL who called in on the HL about the pending crim charges.

that we only provided her name and the docket # of the case b/c
thats alltheywanted. ee s—‘“—‘“‘“‘“‘isS

iFollow Up
jWanted to know what we "sent" to the DA's office and | informed her |

 

2/3/2012

SD s/w CL who called in on the HL about the pending crim charges.
Wanted to know what we "sent” to the DA's office and | informed her
that we only provided her name and the docket # of the case b/c
that's all they wanted.

Info-Legal

 

2/3/2012:

SD confirmed wi CL that it would still be okay to present what she
jgave us to the DA's office if they ask for it. She said that was fine.

 

2/6/2012

SD called Lisa @ CVTC back returning her call re. status of CL's
case and advocacy with DA's office.

 

 

'PA-Legal

 

 

 

 

 
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9/6/2012

 

 

 

 

 

 

 

 

 

an explanation of what an ACD is for her formal complaint about the
DA's office.

SD s/w CL who called in to update me on the case. _ Follow Up
2/6/2012'SD s/w CL about the pending crim case and her new Legal Aid Info-Legal
attorney.
2/6/2012)SD s/w CL about meeting w/ her Legal Aid attorney. ‘Will discuss w/ iInfo-Legal
KT and see if there is an appropriate meeting time this week (may
not be possible this week).
- 2/7/201218D responded to CL's email w/ corrected count info, docket #’s, and iInfo-Legal

 

 

2/7/2012|SD s/w Lisa who called re. the pending criminal charges and case |[PA-
developments. Lisa will be seeing CL later today for a counseling Counseling
session.

2/7/2012)SD responded to CL's email w/ corrected count info, docket #’s, and |Info-Legal

an explanation of what an ACD is for her formal complaint about the
DA's office.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2/7/2012)SD responded to CL's email w/ corrected count info, docket #'s, and |Info-Legal
an explanation of what an ACD is for her formal complaint about the
DA's office.
2/7/20121SD responded to CL's email w/ corrected count info, docket #'s, and [Follow Up
an explanation of what an ACD is for her formal complaint about the
DA's office. ;
2/7/2012{5D s/w Lisa who called re. the pending criminal charges and case ‘{PA-Legal ©
developments. Lisa will be seeing CL later today for a counseling
session.
2/7/2012/SD informed CL that Lisa @ CVTC called me re. updates on the Info-
___ease and that she’s prob concerned about that. __{Counseling _
2/7/2012 SD provided CL my email address b/c she would like me e to look 0 over Info-Legal
ithe formal complaint she's going to write about the DA's office's
jhandling of her case. | agreed to look at it. _
2/7/20121SD informed CL that her theory as to overall office responsibility may |Info-Legal
‘not be true; it's highly unlikely the entire DA's office is involved (as |
jopposed to ADA Stroben and/or Wells). A.
2/7/20121SD s/w CL who called in on the HL w/ an update ot on the case. Her iFollow Up
ineighbor is on the.community board with an inspector at the 28th,
jand the neighbor asked him what was going on w/ CL's case. The
jinspector allegedly stated that it was all the DA's office.
2/7/2012\SD provided CL w/ emotional support re. the new info she's rec'd Crisis
jabout the DA’s office's conduct in her case (according to an |Counseling
linspector at the 28th precinct thatis). _
2/8/2012'KT emailed Lisa Haileselassie and SD re: conversation with defense - IPA.
attorney and gathering evidence, developing plan for crisis \Counseling
_ management, reporting on performance in court, etc._ J _
_..2/8/2012)KT emailed Tajuana Jo ii same Info iPA-Legal

 

 

 

 

 

 
 

 

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2/8/2012

KT emailed Lisa Haileselassie and SD re: conversation with defense
jattorney and gathering evidence, developing plan for crisis
management, reporting on performance in court, etc.

PA-Legal

 

~ 2/8/2012}

{KT called Tajuana Johnson, CL's new defense attorney at Legal Aid,
jand left message advising of whol am andmyrole incase. —_-

PA-Legal

 

2/8/2012]

KT emailed Tajuana Johnson w/ same info

ICJA-Other

 

2/8/2012!

KT called Tajuana Johnson, CL's new defense attorney, and
idiscussed situaton briefly. Discussed our role and the ways we can
support. She is interested in our working with Kelly to prepare
documents re: her victimization. | will reach out to SD and LH re:
ipreparing this evidence.

iCJA-Other

 

2/8/2012

KT called Tajuana Johnson, CL's new defense attorney at Legal Aid,
and left message advising of who | am and my role in case. _

CJA-Other

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
jw/ Tajuana (e.g. records from glass companies, medical records
ifrom incidents identified on her timeline, etc.). CL stated that she's
‘scared about the trial and | validated her feelings about that.

Follow Up

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
w/ Tajuana (e.g. records from glass companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and | validated her feelings about that.

Info-Legal

 

2/15/2012)

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
\w/ Tajuana (e.g. records from glass companies, medical records
from incidents identified on her timeline, etc.). CL stated that she’s
jscared about the trial and | validated her feelings about that.

ICrisis

Counseling

 

~ 2116/2012!

SD called CL to remind her to bring the doctor's reports and receipts |
\from the glass companies tomorrow. No answer. Left vm and also
emailed CL w/ the same request.

Follow Up

 

2/16/2012!

SD called CL to remind her to bring the doctor's reports and receipts |
lfrom the glass companies tomorrow. No answer. Left vm and also
emailed CL w/ the same request.

linfo-Legal :

 

2/17/2012

criminal case. Discussed strategy, prospects, useful ways to
prepare.

KT met wi Lisa Haileselassie, Tajuana Johnson and CL to discuss ;

[Follow Up

 

9/17/2012)

jcriminal case. Discussed strategy, prospects, ACD v. dismissal,
useful ways to prepare.

KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss _

Safety
Planning

 

~ 2/17/2012

KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss
criminal case. Discussed strategy, prospects, useful ways to
jprepare. _

- | PA-Legal

 

 

~ 2117/2012

KT met wi Lisa Haileselassie and Tajuana Johnson to discuss case.
Discussed outlook, position of prosecutor, attorney's impression of
defense issues. Discussed ways we can assist, victimization, etc.

.PA-Legal

 

 

 

[Safety cenunnees

 

 

 

2 KT met wi Lisa Haileselassie and Tajuana Johnson to discuss case.

10

 

 
 

 

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Discussed outlook, position of prosecutor, attorney's impression of
defense issues. Discussed ways we can assist, victimization, bottom
lines for CL re: safety and autonomy.

‘Planning

 

 

2/17/2012|KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case. |CJA-Other
iDiscussed outlook, position of prosecutor, attorney's impression of |
_ __._ defense issues. Discussed ways we can assist, victimization, etc. | a
al 7/20121KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss |CJA-Other

icriminal case. Discussed strategy, prospects, useful ways to
prepare.

 

2/24/2012

KT mei w/ CL and defense atty Tajuana Johnson. Discussed history :
of abuse and clarified facts from timeline. Discussed current charges |
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
iprosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

ICrisis

\Counseling

 

2/24/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history
of abuse and clarified facts from timeline. Discussed current charges

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- |Family ACD. Discussed future recourse for injustice of dropping

icharges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and

full investigation. We will support however we can. Discussed safety
issues while she remains living next door to perp w/o an active
jorder, which was dismissed 1/31/12.

will consider whether to accept ACD. TJ advised she intends to do a

Safety
Planning

 

© 2/24/2012)

KT met w/ CL and defense atty Tajuana Johnson. Discussed ‘history _

jagainst her and potential outcomes. KT and CL listened in to TJ's
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‘Follow Up
jof abuse and clarified facts from timeline. Discussed current charges |

 

 

2/24/2012|k

KT met wi CL and defense atty Tajuana Johnson. Discussed history

against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP.

 

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CJA-Other

 

 

 

11
 

 

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will consider whether to accept ACD. TJ advised she intends to do a |
full investigation. We will support however we can.

 

 

2124/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history

against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and

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full investigation. We will support however we can.

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PA-Legal

 

2/24/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history
of abuse and clarified facts. from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a

{full investigation. We will support however we can.

Info-Legal

 

~ 2/24/2012

Discussed right to file for another OP if necessary.

Info-Family
Court

 

2/27/2012

SD informed CL that | don't know how this is all going to play out, but:
that the ADA has to prove that she had the intent to commit the
crimes she's charged with.

(Info-Legal

 

2/27/2012

SD advised CL to take her cues from Tajuana and to let her handle
the case.

‘Info-Legal

 

"2/27/2012 6

apparently made to Tajuana.

SD siw CL briefly but | had not spoken to KT yet about the meeting

jthey all had on Friday (| was out of town). Provided her w/ some

emotional support and also discussed the statements the ADA

iInfo-Legal

 

2/27/2012.

SD s/w CL briefly but | had not spoken tc to KT yet about the meeting

ithey all had on Friday (| was out of town), Provided her w/ some
jemotional support and also discussed the statements the ADA
japparently made to Tajuana. _

Follow wp sus

 

2/27/2012
ithey all had on Friday (I was out of town). Provided her w/ some
jemotional support and also discussed the statements the ADA
lapparently made to Tajuana.

SD s/w CL briefly but | had not spoken to KT yet about the meeting

(Crisis
iCounseling

 

 

3/2/2012

 

 

SD s/w CL who called in scared about the hearing © on 1 Tuesday. ‘SD

Crisis.

 

 

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joffered emotional support.

 

Counseling

 

~ 3/2/20121S

SD s/w CL who called back to ask about the ACD and her ability to

|sue after the 1 yr time period is up. | confirmed what both KT and

(Tajuana told her about this on Friday.

. \Info-Legal

 

3/2/2012

SD sw CL who called back to ask about the ACD and her ability to
sue after the 1 yr time period is up. | confirmed what both KT and
Tajuana told her about this on Friday.

iFollow Up

 

3/2/2012

SD s/w Lisa @ CVTC about my conversation w/ CL earlier today.
Let her know that CL was pretty upset, but | was able to talk her
down.

(Counseling

 

3/2/2012

SD s/w Lisa @ CVTC who returned my call. Discussed the hearing
on Tuesday and the fact that she might not be able to go. Also

adjournment.

discussed the 30/30, which is a no go b/c Kartegener did ask for an;

IPA-Legal

 

3/2/2012

SD informed CL that | have no idea who the "phone expert” the ADA
mentioned to Tajuana would be, but that Raheem has to confirm ta
the court that the phone call came from CL on the alleged date after
the OP was issued.

Info-Legal

 

3/2/2012

SD s/w CL about Raheem showing up at the hearing on Tuesday to
vet the phone call for the contempt of court charge, and CL
reiterated that he won't be there.

Info-Legal

 

3/2/2012

SD informed CL that the ADA has to prove 3 things: 1) that she
committed the crime, 2) that she had the intent to commit the crime,
and 3) these two things beyond a reasonable doubt.

iInfo-Legal

 

3/2/2012:

SD sw CL who called in scared about the hearing on Tuesday. SD

joffered emotional support.

“|Follow Up —

 

3/2/2012!
jevidence to Tajuana who will have the opportunity to investigate all
jof it.

SD informed CL that if this goes fo trial, the ADA has to provide his

Info-Legal

 

~~ 3/6/2012

SD s/w CL after hearing and advised her that it's Ss ; essential that ‘she

listen to and trust Tajuana's actions in court. Confirmed what
{Tajuana told her after court about how to act when in front of the

judge, and to let her make the plays. _

Crisis
jCounseling

 

~ 3/6/2012

SD sAw CL after hearing and informed her that when Tajuana

\checked the calendar, she found that Kartegener had agreed to
leach adjournment, so today is the first day of the 30/30 clock. This is:
jwhy she needs to let Tajuana control what's happening in court (she |

was trying to push the next hearing back into April to run down the
clock).

~ intolegar aa

 

3/6/2012

SD went to IDV wi Tajuana, “Rammel (from CVTC), ‘and CL for
criminal trial hearing. People weren't ready. 30/30 time started.
\Adjourned until 3/15/12.

~ PA-Legal

 

 

3/6/2012

 

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SD s/w CL after hearing and advised her that it's essential that she

 

 

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Info-Legal

 

 

 
 

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Tajuana told her after court about how to act when in front of the
judge, and to let her make the plays.

 

 

3/6/2012

SD s/w CL after hearing about the trajectory 0 of the case over the
past year from 300+ charges to an ACD to now not being ready
when Tajuana indicated she is ready.

Info-Legai

 

3/6/2012

SD went to IDV wi Tajuana, Rammel (from CVTC), and CL for
criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12.

ICJA-DA

 

3/6/2012

SD went to IDV w/ Tajuana, Rammel (from CVTC), ‘and CL for
criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12.

IPA-

Counseling |

 

3/8/2012

KT s/w Tajuana, CL's defense attorney. Discussed issues with the
case, potential responses to assist with the criminal charges.

PA-Legal

 

3/9/2012

KT sfw CL and discussed what happened in court. Discussed
straying from plan, CL's concerns with prosecution, etc. Did CC.

Follow Up

 

3/9/2012

IKT s/w CL and discussed what happened in court. Discussed
straying from plan, CL's concerns with prosecution, etc. Did CC.

Crisis
jCounseling

 

3/9/2012

 

KT s/w CL and discussed what happened in court. Discussed
straying from plan, CL's concerns with prosecution, etc. Did CC.

\Info-Legal

 

3/13/2012

KT s/w CL's social worker Lisa Haileselassie and discussed case.
Discussed mental health issues and appropriate responses.
Discussed ways to assist CL's attorney.

 

PA-
Counseling

 

3/13/2012

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IcvTC

 

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|PA-Legal

 

3/14/2012

KT met w/ CL and Tajuana Johnson; discussed cases. Discussed
ldefense for violation as well as disorderly conduct. Discussed issues
jwith presentation in court, how to manage abusive and manipulative

she was extemely distressed by the conversation. Discussed plan
for upcoming court

jtactics by abuser, how to stay safe during process. Did CC w/ CL as :

\Crisis

‘Counseling

 

~ 3/44/2012

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iInfo-Legal
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~ 3/14/2012

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PA-Legal

 

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jfor upcoming court

 

3/14/2012

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Planning

 

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{for upcoming court

ICJA-Other

 

3/15/2012|KT s/w CL who reported on court case. Raheem did not show up in

court again. Prosecutor requested an adjournment on the case and

jadvised he still needed more time. CL distressed by the extension of
ithe case but understood the legal strategy.

iFollow Up

 

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Crisis
Counseling

 

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|Info-Legal

 

3/21/2012)

KT shiv CL and discussed upcoming court. She spoke with her
defense attorney who wants her to begin collecting evidence. Atty

{said she does not want to flush out the case before seeing what the |
jprosecutor has. CL and | discussed abuse issues and her efforts to

try to keep the situation under wraps. Did safety planning and

jdiscussed strategy for getting protection once this is over. CL

became very distressed during the conversation and | tried to calm
her down a little bit. She is very worried about the ways her abuser

jwill use this against her in the future.

infoLegal

 

 

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Safety
Planning

 

 

 

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{her down a little bit. She is very worried about the ways her abuser
jwill use this against her in the future.

Crisis
Counseling

 

3/26/2012:

KT s/w CL and discussed that | could not attend Monday's meeting.

JCL understood. CL stated that she was receiving messages on her
{Kelly Price" phone line from a blocked number and she believed it
jwas Kenya Wells calling her. CL stated that the called said sexually
jexplicit things and was harassing her. She has received repeated
messages from this number. CL was very upset. Did a little CC.
iDiscussed legal strategy and our potential role - will help to gather
idocuments as her defense attorney sees fit.

Follow Up

 

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|"Kelly Price" phone Jine from a blocked number and she believed it |
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ICrisis

Counseling

 

 

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KT s/w CL and discussed that | could not attend Monday's meeting. |

Info-Legal

 

 

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a idocuments as her defense attorney sees fit. 7
4/3/20121SD s/w CL who called in with an update on court today. “ADA Follow Up
jannounced he wasn't ready, and the case was adjourned until
15/23/12. Discussed with CL that WebCrims won't be reliable for
jcounting days b/c it's dependent on the judge's calendar. CL
jrequested callback from KT. _
4/3/2012)SD s/w CL who called in with. an n update o on 1 court today. “ADA Crisis
announced he wasn't ready, and the case was adjourned until Counseling
5/23/12. Discussed with CL that WebCrims won't be reliable for
counting days b/c it's dependent on the judge's calendar. CL
jrequested call back from KT. _
4/3/2012iSD s/w CL who called in with an n update o1 on 1 court today. “ADA Info-Legal
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5/23/12. Discussed with CL that WebCrims won't be reliable for
counting days b/c it's dependent on the judge’s calendar. CL
requested call back from KT
4/3/2012iKT called back CL Follow Up
4/3/2012)KT rec'd message from CL Follow Up
4/4/20121SD consulted w/ Lisa at CVTC after siw CL the day before re. PA-Legal
- {charges pending against CL, CL working w/ her attorney instead of
around her, and how CL is coping with everything.
4/4/20121SD consulted w/ Lisa at CVTC after sAw CL the day before re. PA-
charges pending against CL, CL working w/ her attorney instead of [Counseling
oo around her, and how CL is coping with everything. .
4/4/2012|KT s/w CL and made plans for meeting with attorney - scheduled Follow Up
tentatively fornextweek, =
4/4/20121KT left message for CL oe a [Follow Up
4/4/2012;KT sw CL and made plans for meeting with attorney - scheduled Info-Legal
|tentatively for next week.
— 4/16/20121KT rec'd message from CL i inquiring ‘about date of appointment —s Follow Up
__ 4/16/201 2| KT im for CL advising of appointment tomorrow at 4 iFollow Up
4/16/2014 2|KT l/m for CL advising of appointment tomorrow at 4 ilnfo-Legal
— 4/16/2012\KT emailed CL's attorney to confirm appointment time |CJA-Other
4/16/2012|KT rec'd response from CL's attorney advising she was out of town (CJA-Other
_ and would check upon return ee
4/17/2012 |KT rec'd message from CL ‘confirming appt ee [Follow Up
4/17/2012/KT left message for CL confirming appt. __jFollow Up
4/17/2012 |KT rec'd email from CL's attorney advising she can still meet at 4 |CJA-Other
ae today if CL is available. _ fo
4/30/2012 KT s/w CL and discussed housing court | issues, . Discussed eviction Crisis
process and strategies to respond. CL stated she has retained Counseling
_fecords and we discussed requesting a summary of allegations and Jo

 

 

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responding in turn to each with the evidence she has.

 

 

Info-

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

the case on WebCrims. | tried again and found it too. Case

continued to 6/6/12. Verified to CL that | could find it, and suggested |

 

4/30/20121KT siw CL and discussed housing court issues. Discussed eviction .
|process and strategies to respond. CL stated she has retained \Housing
records and we discussed requesting a summary of allegations and
[responding i in turn to each with the evidence she has.
4/30/2012 [Discussed pending criminal case and meeting - will meet tomorrow |CJA-Other
lat 4 with attorney.
4/30/20121KT s/w CL and discussed housing court issues. Discussed eviction Fellow Up
process and strategies to respond. CL stated she has retained
records and we discussed requesting a summary of allegations and
{responding in turn to each with the evidence she has.
5/1/2012iKT attended meeting with CL at CL's attorneys office. Discussed Crisis’
collection of evidence to establish victimization. Discussed Counseling
evidentiary issues, legal relevance, defenses. Discussed issues with
prosecutorial misconduct - failure to pursue witnesses, etc.
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jevidentiary issues, legal relevance, defenses. Discussed issues with |
___ jprosecutorial misconduct - failure to pursue witnesses, etc. ;
7 5/4/2012 |b KT left message for CL re: evidence collecting. _ iFollow Up _
5/4/2012|MM left message for CL. To collect more info on issues on case. _ Follow Up
5/16/2012 |KT emailed CL's attorney re: criminal case and evidence collecting. |CJA-Other _
5/16/2012 |KT rec'd response from CL's attorney advising no progress had been CJA-Other
made.
5/2212012\KT rec'd email from CL's attorney advising that the 30-30 deadline ICJA-Other
____ had run out according to her information. }
5/22/2012: KT replied to CL's attorney via email. ___ {CJA-Other _
5/24/2012'SD sw CL again who called back to say that she was s able to find [Follow Up

 

_|that | probably couldn't find it this morning b/c the site hadn't updated: —

 

 

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~ 5/24/2012.

SD called Lisa @ CVTC to verify the charges were = dropped. ‘No
janswer. Left vm.

‘PA-Legal

 

5/24/2012

SD s/w CL again who called back to say that she was able to find
ithe case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested -
that | probably couldn't find it this morning b/c the site hadn't updated
yet.

{Crisis
(Counseling

 

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the case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested
that | probably couldn't find it this morning b/c the site hadn't updated
yet.

~~ nfo-tegal

 

5/24/2012

SD s/w CL who called in about what happened in the hearing
yesterday. Informed her of what | told Lisa about the WebCrims info,
but also that this doesn't mean the case was dismissed. It's possible
the website hasn't been updated yet; however, it sounds like the
case is about to be dismissed based on what happened in
yesterday's hearing.

Follow Up

 

5/24/2012

SD s/w CL who called in about what happened in the hearing

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" lInfo-Legal
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|case is about to be dismissed based on what happened in
yesterday's hearing.

ICrisis

{but also that this doesn't mean the case was dismissed. It's possible -

Counseling

 

"5/29/2012

KT s/w CL and ‘discussed c court case. She believes that her case will

imotion to dismiss is filed the prosecutor will have the opportunity to
ireply and the cas

‘be dismissed based on speedy trial requirements. CL's attorney will
ifile a motion to dismiss on that basis. Explained to CL that once the |

 

5/30/2012!

SD s/w CL briefly at CVTC and discussed the CC case. CL believes
|the case will be dropped b/c her attorney assured she would file the

lead.

‘Crisis
\Counseling
motion to dismiss. Advised CL to be patient and follow her attorney's |

 

~ 5/30/2012

oD siv CL briefly at CVTC and discussed the CC case. CL believes
ithe case will be dropped b/c her attorney assured she would file the

motion to dismiss. Advised CL to be patient and follow her attorney's s
lead.

info-Legal -

 

 

~ 5/30/2012 /¢

SD s/w CL briefly at CVTC and discussed the CC case. CL believes

 

 

 

 

|Follow Up _

 

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the case will be dropped b/c her attorney assured she would file the |
feoon to dismiss. Advised CL to be patient and follow her attorney’ S|
llead :

 

 

5/31/2012

 

SD informed CL that in regards to getting her bail back, she will need.

Inc but she should also discuss that w/ Tajuana to get a better idea of

how that will all work out.

info-Legal

 

 

 

5/31/201248D s/w CL who called back returning my Vv vm. 1. She said that Tajuana

filed the motion to dismiss.today, and is trying to get a clerk to look
at it today (she’s unsure if she can pull that off). CL will keep us
posted.

"Follow Up

 

5/31/2012

SD called CL back returning her messages from this morning. No
answer. Left vm.

Follow Up

 

6/6/2012

KT emailed CL's attorney in response.

CJA-Other

 

6/6/2012

KT called CL and ‘eft message advising atty was aware of situation.

Follow Up

 

6/6/2012

KT rec'd email from atty advising she had heard the case got called
and re: CL's reaction.

CJA-Other

 

6/6/2012

KT emailed CL's attorney to see where ‘she v was.

CJA-Other _

 

6/6/2012

KT s/w CL who called in crisis. Her attorney was late to court and the

ijudge called the case, knowing she was not present. The case got

adjourned for two months. CL is very fearful of what will happen and

 

stressed over trying to manage this case and the pressure from

oa repr Discussed options; she is considering trying to fire Tajuana

and represent herself today so that the hearing will be heard.

Info-Other

 

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Raheem. Discussed options; she is considering trying to fire Tajuana
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linfo-Legal

 

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Crisis

jCounseling

 

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iRaheem. Discussed options; she is considering trying to fire Tajuana.
jand represent herself today so that the hearing will be heard,

Follow Up

 

6/6/2012)

KT called CL and left message advising atty was aware of situation.

- [Info-Legal

 

6/13/2012,

 

SD explained that if her defense attorney had known about the cert.

 

Info-Legal

 

jof readiness, then the mixup over what time the hearing was at _ to.

 

 

 

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jwouldn't have even happened b/c the motion to dismiss wouldn't
jhave happened making what transpired that morning
jinconsequential.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~ 6/13/201 2) SD s/w CL about her wish to fire her defense attorney and represent jInfo-Legal
iherself, Informed her that | did not think this was agoodidea. _ CL
6/13/2012;SD informed CL that there may be a number of explanations a as to nfo-Legal
why her defense attorney did not have the cert. of readiness before |
- __{she decided to file a motion to dismiss.
6/13/2012{SD tried to SP w/ CL in the context of the criminal case, but CLis ‘Safety
- ipretty set on representing herself. Planning
6/13/2012)5D advised CL that | believed she would have a very difficult time Info-Legal
finding a 3rd attorney to take the case if she fired her current
attorney. .
6/13/2012/SD informed CL that | believed ADA Wells would refuse to work w/ _ {Info-Legal
diner if she represented herself in court.
6/13/20121SD s/w CL about her upcoming appt with the 'Gender & Sexuality’ —{Info-Legal
clinic at Columbia Law. Informed her that | didn't think a law school
clinic would take her case. .
6/13/20121SD provided emotional support to CL. \Crisis
Counseling
_ 6/13/2012)SD wi CL on the phone at CVTC. She decided to call instead of (Follow Up
coming infor her appt. _
6/13/2012|SD informed CL that | did not believe Judge Dawson would let her —info-Legal
represent herself, but CL said she didn't care. to
6/18/2012|KT rec'd message from CL ‘Follow Up |
6/18/2012: SD siw CL who called in extreme crisis. She was yelling (sometimes [Follow Up
jinaudible) and saying that she got a text message from the defense |;
jattorney on the disorderly conduct saying he wouldn't be able to
represent her anymore and she is due in court tomorrow at 9:30am. |
6/18/2012/KT called CL and discussed criminal case. She was pretty upset and | lInfo-Legal
believed her attorney would not show up at court tomorrow - Ben
Dell of Legal Aid who ts representing her in the disorderly conduct
jcase. Discussed criminal issues and her 6th amendment rights to
|counsel. '
6/18/2012)KT shiv Ben Dell and discussed criminal case. He will appear on CL'si\CJA-Other
behalf tomorrow. Discussed various issues with representation. oo
6/18/2012/SD instructed CL to call her SW @ CVTC or the main line at CVTC |Info-
iso that they can help her through this. CL was extremely escalated (Counseling
fand talking about not being alive tomorrow. SD was able to help CL ,
iconstruct an immediate SP in order to come down from her
iescalated state. _
6/18/2012/SD instructed CL to call her SW @ CVTC or the main line at CVTC iCrisis
_.,89 that they can help her through this. CL was extremely escalated Counseling _

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land talking about not being alive tomorrow. SD was able to help CL
construct an immediate SP in order to come down from her
jescalated state.

 

“6/18/2012

SD advised CL that she | is legally entitled to counsel at a CC trial, so :
if Legal Aid is, in fact, pulling themselves from the case, then she will)
need to request a new attorney in court.

‘Info-Legal

 

6/18/2012

SD instructed CL to call her SW @ CVTC or r the main line at CVTC-
so that they can help her through this. CL was extremely escalated
and talking about not being alive tomorrow. SD was able to help CL
construct an immediate SP in order to come down from her
escalated state.

‘Safety
Planning

 

6/18/2012

 

 

KT called CL and discussed criminal case. She was pretty upset and

lbelieved her attorney would not show up at court tomorrow - Ben

Dell of Legal Aid who is representing her in the disorderly conduct
case. Discussed criminal issues and her 6th amendment rights to
counsel.

Crisis
Counseling

 

6/27/2012

SD s/w CL briefly about Legal Aid and what happened with the
disorderly conduct hearing a few weeks ago. CL was allegedly
informed by Ben Dell @ Legal Aid that. they were not representing
her anymore and that she would be by herself. That did not happen
though.

Follow Up

 

~ 6/27/2012

SD reiterated what KT said earlier about criminal cases and her right

ito an attorney. Tried to ease her fears that she will show up to the
jnext hearing w/o an attorney and w/o any knowledge that she would
_jbe unrepresented.

Info-Legal

 

~ 6/27/2012,

SD s/w CL briefly about Legal Aid and what happened with the
disorderly conduct hearing a few weeks ago. CL was allegedly
informed by Ben Dell @ Legal Aid that they were not representing

though.

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iCrisis
;Counseling

 

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disorderly conduct hearing a few weeks ago. CL was allegedly
informed by Ben Dell @ Legal Aid that they were not representing

{her anymore and that she would be by herself. That did not happen |
ithough.

lInfo-Legai 7

 

7/23/2012

jtomorrow - left message. _

KT called attorney tc to try to find out about court appearance

ICJA-Other

 

7/23/2012:

KT s/w CL who called in crisis after learning her defense atty

i(Tajuana Johnson) had been in a car accident and was currently
jhospitalized. She has court tomorrow morning and is very concerned
jabout what will happen. She advised she obtained a transcript of the
|hearing that reveals her attorney who was present in court on the

day the Cert of Readiness was filed was NOT her attorney of record.
Discussed issues. Discussed court tomorrow.

~ [Info-Other —

 

 

"7/23/2012

KT s/w CL who called In crisis after learning her defense atty _

 

 

 

_info-Legal |

22

 

 
 

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hospitalized. She has court tomorrow morning and is very concerned
about what will happen. She advised she obtained a transcript of the
hearing that reveals her attorney who was present in court on the
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7/23/2012

 

Disc safety threats and planning. Safety
en . a . Planning
7/23/20121IKT s/w CL who called in crisis after learning her defense atty Follow Up

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about what will happen. She advised she obtained a transcript of the
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" iCrisis
iCounseling

 

 

|conclusion of the CC case against her. All of the DV charges were
jdropped, but there was no indication as to why they were dropped.
INo answer. Left vm.

7/26/2012i8D called CL to s/w her about my last day (August 3rd) and the Follow Up
conclusion of the CC case against her. All of the DV charges were
dropped, but there was no indication as to why they were dropped.
_ INo answer. Left vm.
7/26/2012/5D called CL to sAw her about my jast day (August 3rd} and the Info-Other

'

 

Crisis

 

 

 

 

 

 

~ 7/30/2012|SD offered CL emotional support. She wants to file a lawsuit against |
— ithe city and the DA's office. Counseling
7/30/2012|SD informed CL that Friday (8/3) is my lastday Info-Other
7/30/2012'SD asked CL if she'd been given a reason for why the case was Info-Legal
{dropped. She said she didn't know, and | informed her that we don't
knoweither, Se
_7/30/2012|SD s/w CL who called in on the HL returning my vm from 7/26. [Follow Up
_...10/8/2012|KT rec'd message from CL savage [Follow Up
10/8/2012 /KT left message for CL, returning her call, _|Follow Up
11/30/2012|KT rec'd message from CL Follow Up

 

12/6/2012)

KT s/w Det. Galan at 20th Pct and discussed case - he explained the

jreasons for the delay and that he was having a hard time with CL
|because he felt she would get upset and accusatory. We discussed |

 

 

case, his concerns and intentions, and he reassured me that he was _

CJA-Police

 

 

 

23

 
 

 

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jvery eager to get an arrest on this case and help the client. He
jexplained his intentions for today and gave me contact info for the

prosecutor on the case - ADA Bernard at DANY.

 

 

12/6/2012

to go down to the station and do the photo lineup and call me to let
me know how it goes. _

KT called CL and relayed conversation with Det. Galan: She is going!

info-Legal

 

~ 12/6/2012

KT s/w CL and discussed current issues with law enforcement. CL
was assaulted in August by a stranger in a bar and heard he was

jarrested, but has gotten mixed messages. She is uncertain about
jwhether she should trust the detective she was working with, who

has now asked her to come in to do a photo line up. | agreed to
reach out to him - Detective Galan at the 20th Pct., (212)580-6414

Follow Up

 

12/6/2012

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Crisis
Counseling

 

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reach out to him - Detective Galan at the 20th Pct., (212)580-6414

Safety
Planning

 

"12/12/2012|E

 

SN discussed CL's most recent case with her and discussed why the.
ADA may have chosen to pursue felony assault against an office
charges instead of the assault charges she's attempted to file

against the individual in question (who'd assaulted her in an UWS

 

_Par by punching her in the mouth)...

Info-Legal

 

 

24

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

12/12/2012)

 

 

 

 

 

 

SN reviewed details of CL's OVS application briefly with Veronica

IPA-CVB

 

jand discussed her filing- specifically the amount she'd filed for, the [Application

materiais she was able to gather to make the claim (there'd been

difficulty accessing DtRs from the 28th precinct) and how she'd

utilize said funds. oo —
12/12/201215N wrote a letter to CL's landlord attesting to the filing of her OVS |PA-CVB

application, with the hopes that this would assist her in disputing her |
impending eviction.

 

12/12/2012

SN met with CL at CVTC. Stated that she would like a letter for her

Additionally, CL worked to brief me on her present circumstances-,
jliving next door to PERP, receiving threatening phone calls from
unidentified women, being physically attacked in her neighborhood,
and falling behind in her rent in amount close to $40,000.

eve
landlord stating she'd.filed an OVS claim for the amount of $15,000. ;

 

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Safety
Planning

 

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Crisis
Counseling

 

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junidentified women, being physically attacked in her neighborhood,
jand falling behind in her rent in amount close to $40,000.

Follow Up
landlord stating she'd filed an OVS claim for the amount of $15,000. |

 

12/12/2012

KT emailed Audrey Moore to check in - advised | wanted to speak
with her about the case

~ ICJA-DA

 

“1/10/2013

KT sAw CL's counselor Lisa Haileselassie re: various issues ‘with the
case. Discussed allegations that 28th Pct won't take reports - we
strategized and decided to approach Audrey Moore again about the

jprecinct/DANY issue.

Counseling

 

“1/10/2013;
iher office, anyone not to take a report from CL. She discussed this |
lissue with the captain who agreed they had not been instructed to do

KT s/w Audrey Moore who advised ‘she had not instructed, nor had

|that. They will make sure officers are advised.

ICJA-Police

 

 

 

4/10/201 3b KT s/w CL and advised | had some updates. CL will call me back Follow Up -
_t 10/2013 KT siw CL s counselor Lisa Haileselassie re. various s issues 1 with ‘the [PA-Other |

 

 

 

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case. Discussed allegations that 28th Pct won't take reports - we

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case. Discussed allegations that 28th Pct won't take reports - we
strategized and decided to approach Audrey Moore again about the
jprecinct/DANY issue.

Follow Up

 

1/10/2013

KT s/w Audrey Mocre who advised she had not instructed, nor had
her office, anyone not to take a report from CL. She discussed this
issue with the captain who agreed they had not been instructed to do
that. They will make sure officers are advised.

 

ICJA-DA

 

1/11/2013

IKT rec'd message from CL

Follow Up

 

1/11/2013

IKT referred CL to VOW

Referral-
Other

 

1/11/2013

KT called CL and discussed issues. Discussed conversation with
Audrey Moore at DANY (see above)

Info-Legal

 

1/11/2013

KT s/w CL and discussed organizing around this issue with
prosecution. Discussed structural issues with crimes of violence
against women, etc. Discussed current organizign efforts

Info-Other

 

2/26/2013

KT left message for CL to follow up with her DV non profit efforts and
efforts to reach VOW.

info-Other

 

2/26/2013

KT left message for CL to follow up with her DV non profit efforts and
efforts to reach VOW.

Follow Up

 

3/15/2013

KT rec'd email from CL re: request to speak with Normal Siegle: she
lis pursuing civil relief for the improper treatment of the DA’s office
and NYPD and he is considering taking her case. __

Follow Up

 

~ 3/15/2013

KT rec'd email from CL re: request to speak with Normal Siegle: ‘she
jis pursuing civil relief for the improper treatment of the DA's office
and NYPD and he is considering taking her case.

Info- Legal

 

3/16/2013

KT replied to CL to advise that | would speak to Mr. Siegle on her
behalf. | advised the limitations of my abitity to speak to her story
because of the limited personal knowledge | have.

Follow Up

 

~-3/16/2013)K

KT replied to CL to advise that | would speak to Mr. Siegle on on her ~
ibehalf. | advised the limitations of my ability to speak to her story
{because of the limited personal knowledge | have.

: Info-Legal

 

3/19/2013

KT s/w civil rights attorney extensively about CL's case. “Advised that (
| believed she is the victim of abuse, that | did think she was treated
jin an extreme manner by NYPD and the DA's office but | could not
ispeculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
jvictims in cases.

 

 

"3/19/2013

KT s/w civil rights attorney extensively about CL's case. Advised that:
il believed she is the victim of abuse, that | did think she was treated

 

ICJA-Other

 

jin an extreme manner by NYPD and the DA's office but | could not |

 

 

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speculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims in cases.

 

 

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KT s/w civil rights attorney extensively about CL's case. Advised that
| believed she is the victim of abuse, that | did think she was treated
in an extreme manner by NYPD and the DA's office but | could not

PA-Legal

 

jspeculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
jvictims in cases.

 

3/29/2013:

KT s/w CL and discussed Siegle's choice to decline representation.
gave her my opinion on why he decided as he did. CL was very

 

|

upset, distressed. Discussed other options, did some counseling,
etc.

Info-Other

 

3/29/201 3

KT made referral to Emerson, Celli et al to screen client for civil
rights claim.

jReferral-
Other

 

3/29/2013

KT s/w CL and discussed Siegle's choice to decline representation.
gave her my opinion on why he decided as he did. CL was very
upset, distressed. Discussed other options, did some counseling,
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iInfo-Legal

 

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letc. ,

Crisis"
Counseling

 

~ 3/29/2013

letc.

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gave her my opinion on why he decided as he did. CL was very
upset, distressed. Discussed other options, did some counseling,

Follow Up

 

3/29/2013

KT rec'd email from CL inquiring about s/w Siegle.

_Follow Up

 

3/29/2013

KT rec'd message fromCt

|Follow Up |

 

1/8/2013

KT rec'd message from CL _

[Follow Up __

 

7/9/2013;

KT s/w Audrey Moore about the case - she advised that CL had
ihreatened her.

ICJA-DA

 

“7/10/2013

KT s/w CL and discussed current issues. CL stated she received a
call from an ADA who said she was following up on the criminal case

ifrom last fall - when CL was punched in the face by a stranger. Read

CL my notes from my phone call to Det. Galan. She requested |

send them. CL advised she was no longer receiving services from
CVTC - | suggesed | make another referral but CL declined for now. -
Gave emotional support. :

[Follow Up

 

 

“7/10/2013

KT s/w CL and discussed current issues. CL stated she received a
call from an ADA who said she was following up on the criminal case}
from last fall - when CL was punched in the face by a stranger. Read |
CL my notes from my phone call to Det. Galan. She requested |

 

 

lsend them. CL advised she was no longer receiving services from |

 

 

 

|Info-Legal

 

 

 
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(Gave emotional support.

CVTC - | suggesed | make another referral but CL declined for now. |

 

 

~ 7/10/2013)

KT sAw CL and discussed current is issues. CL stated she received a

send them. CL advised she was no longer receiving services from

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(Info-Other
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Gave emotional support.

(Crisis
call from an ADA who said she was following up on the criminal case’

Counseling

 

7/10/2013

KT rec;d message from CL requesting reminder on the conversation
| had with Det. galan in December of last year.

‘Follow Up

 

7/10/2013

KT s/w CL and discussed current issues. CL stated she received a
call from an ADA who said she was following up on the criminal case
from last fall - when CL was punched in the face by a stranger. Read
CL my notes from my phone call to Det. Galan. She requested |
send them. CL advised she was no longer receiving services from

CVTC - 1 suggesed | make another referral but CL declined for now. _
|Gave emotional support.

Info-
Counseling

 

7/16/2013:

KT rec'd message from CL. stating she met with ADA today and they

jwant to move forward with the charges against the man who
lassaulted her last fall. CL gave ADA my contact information. _

Info-Legal

 

__7/16/2013|k

KT left message for CL

_[Follow Up

 

7/16/2013;

KT rec'd message from CL stating she met with ADA today and they |
|want to move forward with the charges against the man who
assaulted her last fall. CL gave ADA my contact information.

Follow Up

 

1/17/2014!

KT rec'd message from CL - unable to hear her new number

Fallow Up

 

1/23/2014

KT rec'd message from CL re: needing to file for an OP against
Raheem.

Follow Up

 

~ 1424/2014

KT called CL and left message advising that | thought an OP would
be challenging. Advised | will not be in on Monday but to call the
helpline to process options for filing for an OP if that's the direction
she wants to go in. Otherwise, call me Tuesday.

linfo-Family
lCourt

 

1/24/2014

 

KT called CL and left message advising that | thought an OP would
be challenging. Advised | will not be in on Monday but to call the
helpline to process options for filing for an OP if that's the direction

jshe wants to go in. Otherwise, call me Tuesday.

. coe ue ws

 

" ~41/24/2014]K

 

KT called cL and left Message advising that | thought an OP would —

 

‘Follow Up

28

 

 

 
 

 

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joe challenging. Advised | will not be in on Monday but to call the
ihelpline to process options for filing for an OP if that's the direction

she wants to go in. Otherwise, call me Tuesday.

 

 

2/19/2014

KT rec'd BCC'd email from CL to ADA Reichfelder re: moving
forward with the case.

‘Follow Up

 

2/19/2014

KT replied to CL's email j inquiring about the case e wi DANY

Info-Legal

 

2/20/2014

KT rec'd message from CL

Follow Up

 

2/20/2014

KT called CL back and left message re: following up on criminal
court issue w/ DANY

Follow Up

 

2/20/2014

KT replied to CL’s email inquiring about the case w/ DANY

Follow Up

 

2/20/2014

KT called CL back and left message re: following up on criminal
court issue w/ DANY

Info-Legal

 

2/24/2014

KT called CL back and advised

 

2/24/2014/KT s/w CL and discussed current criminal case. CL advised that the

ADA wants to move forward on the criminal case but needs to speak
with Cl's friend who she spent the night with. CL has asked her

ifriend to contact the ADA but he won't reply. CL asked if | would

reach out to explain the role of a witness and assure friend he wont
get in trouble. Advised CL that | could speak to her friend about the
role of a witness but not assure him of anything as | do not have that
knowledge myself.

Info-Legal

 

2/24/2014

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ADA wants to move forward on the criminal case but needs to speak
with Cl's friend who she spent the night with. CL has asked her
friend to contact the ADA but he won't reply. CL asked if | would
reach out to explain the role of a witness and assure friend he wont
get in trouble. Advised CL that | could speak to her friend about the

irole of a witness but not assure him cf anything as | do not have that |

knowledge myself.

Follow Up 7

 

~ 2/24/2014.

 

 

KT rec'd email from CL advising that my VM is full and she can't | _
‘leave amessage _

Follow Up

 

2/24/2014

KT rec'd email from CL requesting | reach out to the ADA on the

_icase to inquire why they haven't moved forward

 

[Follow Up -

 

2/24/2014

KT rec'd email from CL requesting | reach out to the ADA on the
case to inquire why they haven't moved forward

|Info-Legal

 

2/24/2014!

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jget in trouble. Advised CL that | could speak to her friend about the
role of a witness but not assure him of anything as | do not have that |
jknowledge myself.

Safety
Planning

 

 

12212018

 

KT called CL back - - she | is on the pther line - - will ca | me right back

 

 

 

 

[Follow Up.

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1122/2015}

 

KT rec'd message from cl

 

[Follow Up

 

~ 6/22/20151

CL called SPs direct line: “CL claims te to have been calling ‘connect CL.
jbut no one has gotten back to CL; SP explained to CL the

lbelief that CONNECT had abadon her; SP explained changes
{CONNECT is undergoing; SP discussed case with SM/CC; SP will
follow up with QW/SM/interm attorney on what to do next on the
jcase- CL wants records

ICONNECT protocol in terms of HL; SP apologize to CL with regards

[Follow Up

 

~ 6/22/2015}

CL called SPs direct line; CL claims to have been calling connect CL:
but no one has gotten back to CL; SP explained to CL the

CONNECT protocol in terms of HL; SP apologize to CL with regards |
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‘Crisis

|Counseling

 

6/22/2015

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Info-Legal

 

6/22/2015!

but no one has gotten back to CL; SP explained to CL the
CONNECT protocol in terms of HL; SP apologize to CL with regards
belief that CONNECT had abadon her, SP explained changes

ICONNECT is undergoing; SP discussed case with SM/CC; SP will

ifollow up with OVW/SM/interm attorney on what to do next on the
jcase- CL wants records

CL called SPs direct line; CL claims to have been calling connect CL

PA-Other

 

6/22/2015}

 

SM has held “conversation a about CL and what do to with case with

 

_ICVTC staffmember

 

iPA-Other

 

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